Case 1:20-cv-04662-HG-PK Document 15 Filed 11/11/20 Page 1 of 3 PageID #: 72




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                                        November 11, 2020

By ECF:

The Honorable Roslynn R. Mauskopf, U.S.D.J.
Eastern District Of New York
225 Cadman Plaza East, Courtroom 6A
Brooklyn, New York 11201

Re:    Rosenfeld v. AC2T, Inc. et al., Case No. 1:20-cv-04662-RRM-PK
       Response to Bonner Analytical Testing Co.’s Letter Request For A Pre-Motion
       Conference

Dear Judge Mauskopf:

       I represent Plaintiff Kalman Rosenfeld (“Plaintiff”) in the above-referenced action.
Pursuant to Rule III.A.2 of this Court’s Individual Rules, Plaintiff submits this response letter to
Defendant Bonner Analytical Testing Co.’s (“Bonner”) Letter Request for a Pre-Motion
Conference. ECF No. 12 (the “Letter” or “Ltr.”).

I.     Procedural Background

        This putative class action concerns the Spartan Mosquito Eradicator (the “Product”),
which is manufactured and distributed by AC2T, Inc., Bonner’s co-defendant. Plaintiff alleges
that the Product’s claim that it will “eradicate your mosquito population” is false and misleading.
Complaint (“Compl.”) (ECF No. 1) ¶ 2. There are three Defendants in this case – AC2T, Inc.,
Jeremy Hirsch (AC2T, Inc.’s founder and spokesperson), and Bonner. Mr. Benson, who wrote
the Letter, represents only Bonner. The other two Defendants are represented by another law
firm. Their deadline to respond to Plaintiff’s complaint is December 3, 2020. See ECF No. 10.
The arguments in Bonner’s Letter do not challenge the sufficiency of Plaintiff’s allegations
against the other Defendants. To the extent that the Court schedules a pre-motion conference,
Plaintiff respectfully requests that the Court schedule it for after December 10, 2020, so that all
parties have the opportunity to submit any pre-motion letters prior to the Court conference.

II.    Bonner Is A Conspirator To Fraud And Violations Of New York’s Consumer
       Protection Laws

       Bonner’s role in this case is as a conspirator. Bonner’s Letter correctly notes that it did
not manufacture or sell the Product. Rather, Plaintiff alleges that Bonner “advanced” the
“fraudulent scheme” by running and publishing knowingly invalid testing of the Product.
Compl. ¶ 25-27. The testing “was not even performed on the correct product,” but rather on “a
former iteration of the Product with contained boric acid – an actual poison capable of killing
Case 1:20-cv-04662-HG-PK Document 15 Filed 11/11/20 Page 2 of 3 PageID #: 73
                                                                                          PAGE 2


mosquitoes.” Id. ¶ 27. “Moreover, the test was (1) conducted without any scientific control and
(2) was conducted in a location and during a period when the local government was already
spraying insecticides meant to kill and reduce mosquito populations. The fact that Defendants
happened to purportedly observe a reduction in mosquito population was completely
meaningless – this reduction was due to the spraying, not the Product.” Id. ¶ 28. In fact,
“nobody with scientifically legitimate qualifications participated in this ‘testing.’ A qualified
entomologist was invited to participate. However, she declined to do so once she was presented with
the nondisclosure agreement Defendants have repeatedly used to silence other scientists.” Id. ¶ 29.

       Based on Bonner’s Letter, Plaintiff will not pursue his claims for unjust enrichment and
breach of express warranty against Bonner. However, Plaintiff’s allegations are sufficient to confer
personal jurisdiction and adequately state claims for fraud and violation of N.Y. Gen. Bus. L.
(“GBL”) §§ 349 and 350.

III.   The Court Has Personal Jurisdiction Over Bonner

        According to Defendant, the Court lacks specific jurisdiction because “Plaintiff does not
allege that Bonner Analytical did anything at all in New York, much less engage in activity
giving rise to any of the claims he asserts.” Ltr. at 2. But that is incorrect because the Court has
“conspiracy jurisdiction” over Bonner. “[T]he appropriate test for alleging a conspiracy theory
of jurisdiction [is]: the plaintiff must allege that (1) a conspiracy existed; (2) the defendant
participated in the conspiracy; and (3) a co-conspirator's overt acts in furtherance of the
conspiracy had sufficient contacts with a state to subject that co-conspirator to jurisdiction in that
state.” Charles Schwab Corp. v. Bank of Am. Corp., 883 F.3d 68, 87 (2d Cir. 2018).

        Here, as noted above, Plaintiff alleges that Bonner conspired to dupe consumers into
purchasing the Product by conducting a knowingly invalid test, the results of which were
published on the Product packaging. Compl. ¶¶ 25-29. This Product was sold to Plaintiff in
New York – where the tort occurred. Thus, AC2T’s overt acts in furtherance of the conspiracy
by distributing the Product for sale in New York was sufficient to confer specific personal
jurisdiction its co-conspirators, including Bonner.

IV.    Plaintiff Sufficiently Pleads His Claims

        Plaintiff also sufficiently states claims for fraud and violation of GBL §§ 349 and 350
against Bonner. Defendant argues that “plaintiff fails to allege … that Bonner Analytical
engaged in any consumer-oriented conduct or advertising at all, much less consumer-oriented
conduct or advertising which was deceptive or misleading.” Ltr. at 2. But Plaintiff alleges
Bonner knowingly published false testing results for the packaging of the Product that would be
sold to consumers. Compl. ¶¶ 25-30.

        Defendant also argues that Plaintiff’s fraud claim fails because it is not pled with
requisite particularity, and “because plaintiff does not allege that Bonner Analytical made any
representation to him at all, much less a false representation.” Ltr. at 3. That is wrong.
Plaintiff’s complaint alleges that “[t]he fraudulent scheme has also been advanced with
cooperation from Bonner Analytical Testing Co., which is owned by Christopher Bonner,
Spartan’s Vice President.” Id. ¶ 25. Bonner knowingly performed fake testing on the Product
for purposes of publication to consumers. Id. ¶ 27. Nothing more is required. See Hughes v.
Case 1:20-cv-04662-HG-PK Document 15 Filed 11/11/20 Page 3 of 3 PageID #: 74
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Ester C Co., 930 F. Supp. 2d 439, 473 (E.D.N.Y. 2013) (“[P]laintiffs allege that defendants
intended to defraud plaintiffs, i.e., consumers. Plaintiffs plead that ‘[a]t the time [d]efendants
made the representations herein alleged, [d]efendants knew the representations were false.’
Plaintiffs bolster this claim of alleged falsity awareness b pointing to an alleged lack of
supporting scientific evidence for defendants’ claims, the study conducted by the Linus Pauling
Institute … and the FTC settlements in cases involving similar allegations of fraudulent
misrepresentations.”).


                                                     Very truly yours,




                                                     Yitzchak Kopel

CC:    All counsel of record (via ECF)
